      Case 3:19-cv-00928-L Document 1 Filed 04/16/19                 Page 1 of 5 PageID 1


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 Calvin Williams,
                                                               Civil Action No: 3:19-cv-928
            Plaintiff,
                                                                           COMPLAINT
 v.
                                                                DEMAND FOR JURY TRIAL
 National Medical Administrators, Inc.,

            Defendant.

       NOW COMES, Plaintiff CALVIN WILLIAMS (“Plaintiff”), by and through his attorney,

SHAWN JAFFER LAW FIRM, PLLC, for her complaint against Defendant NATIONAL

MEDICAL ADMINISTRATORS, INC., (“Defendant”), to wit, for violations of 15 U.S.C. § 1692

et seq., the Fair Debt Collection Practices Act (“FDCPA”).

                                PREMLIMINARY STATEMENT

       1.        This is an action for statutory damages, costs, and attorney’s fees pursuant to 15

USC §1692 et seq. (FDCPA).

                                  JURISDICTION AND VENUE

       2.        This Court has jurisdiction over this action and all counts under 28 U.S.C. §§ 1331,

1337 and 15 U.S.C. § 1692k.

       3.        Venue in this District is proper under 28 U.S.C. §§ 1391(b)(2) because a substantial

part of the events or omissions giving rise to this claim occurred here.

                                             PARTIES

       4.        Plaintiff is a natural person residing at 1503 Brookhaven St., Cleburne, TX 76033

in Johnson County.

       5.        Plaintiff is a “consumer” as defined by 15 U.S.C §1692a(3).

                                             Page 1 of 5
      Case 3:19-cv-00928-L Document 1 Filed 04/16/19                  Page 2 of 5 PageID 2


        6.      Plaintiff allegedly owes a debt (the “Consumer Debt”), for $119.97 for an Account,

No. 2062880 from TRS Limited-Raging Lion, as defined by 15 U.S.C §1692a(5).

        7.      Defendant is a “debt collector” as defined by 15 U.S.C §1692a(6).

        8.      Defendant attempted to collect the Consumer Debt from Plaintiff.

        9.      Defendant is a collection agency headquartered in Norcross, Georgia.

        10.     Defendant employs a registered agent, Jack R. Littell, for service of process at

10810 Old Katy Rd., Suite 102, Houston, Texas.

        11.     Defendant regularly collects, or attempts to collect debts from Consumers in Texas.

        12.     Defendant engages in interstate commerce by regularly using telephone and mail

in a business whose principal purpose is the collection of debts.

        13.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, and representatives.

        14.     At all times material hereto, Defendant was acting as a debt collector in respect to

the collection of Plaintiff’s debts.

        15.     The current creditor of the Consumer Debt is National Medical Administrators, Inc.

(the “Current Creditor”).

                                   FACTUAL ALLEGATIONS
                                    Violation – Collection Letter

        16.     At a time better known to Defendant, an obligation was allegedly incurred to

Raging Lion.

        17.     The obligation arose out of a transaction involving a debt allegedly incurred by

Plaintiff with TRS Limited-Raging Lion, the funds which were used primarily for personal, family

or household purposes.



                                             Page 2 of 5
      Case 3:19-cv-00928-L Document 1 Filed 04/16/19                 Page 3 of 5 PageID 3


       18.     On or about April 3, 2019, the Defendant mailed a collection Letter to the Plaintiff.

See Exhibit “A”.

       19.     Defendant’s Letter was an attempt to collect the Consumer Debt from Plaintiff.

       20.     Defendant did not inform Plaintiff that the Letter was an attempt to collect a debt

and that any information obtained will be used for that purpose.

       21.     The collection letter is misleading and deceptive to an unsophisticated or least

sophisticated consumer because the Letter failed to disclose that the Letter was an attempt to

collect a debt and that any information obtained will be used for that purpose.

       22.     As a result of Defendant’s deceptive and misleading debt collection practices,

Plaintiff has suffered an information injury as to his rights and has been damaged.

                                 COUNT I
        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692e et seq.

       23.     Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.

       24.     Defendant’s debt collection efforts against Plaintiff violated various provisions of

the FDCPA, including but not limited to 15 U.S.C. §1692e.

       25.     Under 15 U.S.C. § 1692e, a debt collector:

               may not use any false, deceptive, or misleading representation or means in

               connection with the collection of any debt.

               1. The failure to disclose in the initial written communication with the consumer

                   and, in addition, is the initial communication with the consumer is oral, in that

                   initial oral communication, that the debt collector is attempting to collect a debt

                   and that any information obtained will be used for that purpose, and the failure

                                            Page 3 of 5
      Case 3:19-cv-00928-L Document 1 Filed 04/16/19                Page 4 of 5 PageID 4


                   to disclose in subsequent communications that the communication is from a

                   debt collector, 15 U.S.C. §1692e(11); and

               2. The use of any false representation or deceptive means to collect any debt or to

                   obtain information concerning a consumer, 15 U.S.C. §1692e(10).

       26.     Defendant violated the FDCPA when the Defendant did not communicate, in

writing, that the “debt collector is attempting to collect a debt and that any information obtained

will be used for that purpose,” on the alleged debt:

       Section 1692e(11) applies both to oral and written communications from debt
       collectors. 15 U.S.C. § 1692e(11). The FDCPA defines "communication" as "the
       conveying of information regarding a debt directly or indirectly to any person
       through any medium." 15 U.S.C. § 1692a(2). Courts have generally held that
       voicemail messages are communications under the FDCPA even if they do [*20]
       not mention the debt in the message. Berg v. Merchs. Ass'n Collection Div., Inc.,
       586 F. Supp. 2d 1336, 1340-41 (S.D. Fla. 2008); Foti v. NCO Fin. Sys., 424 F.
       Supp. 2d 643, 655-56 (S.D.N.Y. 2006) (holding that a voice mail message is a
       "communication" under the FDCPA); Hosseinzadeh v. M.R.S. Assocs., Inc., 387 F.
       Supp. 2d 1104, 1115-16 (C.D. Cal. 2005) (same); but see Biggs v. Credit
       Collections, Inc., No.CIV-07-0053-F, 2007 U.S. Dist. LEXIS 84793, 2007 WL
       4034997 *4 (W.D. Okla. Nov. 15, 2007)

       This Court agrees with the majority of district courts that have ruled on the issue.
       In light of the remedial nature of the FDCPA, the better interpretation of
       "communication" includes even those voice mail messages that simply request that
       the consumer return the debt collector's call. The ultimate purpose of such a
       message is to communicate with the consumer about the debt. As such, the message
       itself qualifies as an indirect conveying of information about a debt.

Rodriguez v. Fulton Friedman & Gullace, LLP, No. H-11-4592, 2012 U.S. Dist. LEXIS 122041,
at *19-21 (S.D. Tex. Aug. 28, 2012)

       27.     For these reasons, the Defendant is liable to the Plaintiff for statutory damages,

costs, and attorney’s fees.

                               DEMAND FOR TRIAL BY JURY




                                            Page 4 of 5
      Case 3:19-cv-00928-L Document 1 Filed 04/16/19                  Page 5 of 5 PageID 5


       28.     Plaintiff requests a trial by jury on all issues and counts so triable, pursuant to Rule

38 of the Federal Rules of Civil Procedure.

                                       PRAYER FOR RELIEF

               WHEREFORE, Plaintiff, requests that the Court enter judgment in favor of

Plaintiff and against Defendant for:

               (1)     Statutory damages of $1,000 as provided under 15 U.S.C. §1692k(a)(2)(A);

               (2)     Reasonable attorney’s fees, litigation expenses and costs of the instant suit,

               as provided under 15 U.S.C. § 1692k(a)(3); and

               (3)     Such other or further relief as the Court deems proper.

                                                   DATED: April 16, 2019
                                                   Respectfully Submitted,
                                                   SHAWN JAFFER LAW FIRM PLLC

                                                   /s/ Shawn Jaffer__                           .
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                                              Page 5 of 5
